           Case 1:18-cr-00308-TSE Document 1 Filed 06/20/18 Page 1 of 1 PageID# 1


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                                   United States District Court 1;                                     !!;
                                                                                                         i
                                                              for the
                                                                                                                                     • i'
                                                 Eastern District of Virginia                                       Jli     2Ui8

                United States of America
                                                                                                             C-:-   X. u.
                              V,                                                                                ALF^

                                                                         Case No. ^:18-MJ-289
                    MARKARA MAN




                        Defendant(s)                                                       UNDER fiRAT.
                                                   CRIMINAL COMPLAINT


         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                  12/20/2017                 in the county of              Arlington             in the

      Eastern       District of             Virginia          the defendant(s) violated:

           Code Section                                                    Offense Description


18 U.S.C.§ 115(a)(1)(A)                     Intimidating, Interfering with, or Retaliating Against a Federal Official by
                                            Threatening to Murder a Family Member.




         This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT.




         SJ Continued on the attached sheet.



 Reviewed by AUSA/SAUSA:
                                                                                            Complainant's signature
    Alexander Berrang
                                                                                    John Bamford, Detective/TFO/FBI
                                                                                            Printed name and title


 Sworn to before me and signed in my presence.
                                                                                      Jsl
                                                                        John F. Anderson
 Date:          06/20/2018                                              United States Magistrate Judge
                                                                                               Jttdge's signature
                                                                            Hon. John F. Anderson, United States Magistrate
 City and state:                       Alexandria, VA                                           Judge
                                                                                            Printed name and title
